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                                                    U.S. 015TiCT COURT
                                                       SAVANNAH DIV.
           IN THE UNITED STATES DISTRICT COtJRnQAPR
               THE SOUTHERN DISTRICT OF GEORGIW       - PM 2: 37
                       SAVANNAH DIVISION
                                             CLERc7             -
TORY HARDWICK,                                   SOO1S-T-QF GA.

     Petitioner,

                                           CASE NO. CV415-312
                                                    CR4 12-086
UNITED STATES OF AMERICA,

     Respondent.


                             ORDER

     Before the Court is the Magistrate Judge's Amended

Report and Recommendation (Doc. 4), to which no objections

have been filed. After a careful de novo review of the

record, the report and recommendation is           ADOPTED   as the

Court's opinion in this case. As a result, Petitioner's 28

U.S.C. § 2255 motion is DENIED.       In addition, Petitioner is

not entitled to a Certificate of Appealability, rendering

moot any request for in forma pauperis status on appeal.

The Clerk of Court is DIRECTED to close this case.

     SO ORDERED this            day of April 2016.




                                  WILLIAM T. MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
